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                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                        Crim. No. 19-804 (AET)


                                                CONSENT ORDER AMENDING THE
       v                                        CONDITIONS OF PRETRIAL
                                                RELEASE FOR RONNIE DAWSON

RONNIE DAWSON

       This matter having been opened to the Court upon application by Jerome A.

Ballarotto, Esq. appearing on behalf of Defendant Ronnie Dawson and consented to by

Martha Nye, Assistant United States Attorney on behalf of the Government, and

Adrienne Smith, Pretrial Services and the parties having acknowledged their consent to

the entry of this Order;

              IT IS on this 31st day of December, 2020;

              ORDERED that Defendant Ronnie Dawson’s Conditions of Pretrial

Release are hereby amended to a daily curfew of 9:00 p.m. to 5:00 a.m. with location

monitoring; and,

              IT IS FURTHERED ORDERED that all other conditions of Defendant

Ronnie Dawson’s Conditions of Pretrial Release will remain in full force and effect.




                                         __s/DOUGLAS E. ARPERT ________
                                         Hon. Douglas E. Arpert, U.S.M.J.
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        The parties hereby consent to the form and entry of the within Order.



                                          /s/ Jerome A. Ballarotto
                                          __________________________
Date: 12/30/20                            JEROME A. BALLAROTTO, Esq.
                                          NJ Bar No. 021301979
                                          Attorney for Frank Maile


                                          CRAIG CARPENITO
                                          UNITED STATES ATTORNEY’S OFFICE
                                          FOR THE DISTRICT OF NEW JERSEY




Date: 12/30/20                            By: MARTHA NYE
                                              Assistant United States Attorney




Date:                                     ________________________________
                                          ADRIENNE K. SMITH
                                          Intensive Supervision Specialist
                                          U.S. Pretrial Services
